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11                   UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA
12

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      JENNY LISETTE FLORES,               Case No.        2:85-cv-4544-DMG
15    et al.,
16
                    Plaintiffs,           BRIEF OF CITY OF LOS
17                                        ANGELES, CITY OF CHICAGO,
18                                        CITY OF NEW YORK, AND
      v.
                                          CITY AND COUNTY OF SAN
19
                                          FRANCISCO AS AMICI
      JEFFERSON B. SESSIONS III,
20                                        CURIAE IN OPPOSITION TO
      Attorney General of the
                                          DEFENDANTS’ EX PARTE
21    United States, et al.,
                                          APPLICATION FOR RELIEF
22                  Defendants.           FROM THE FLORES
23                                        SETTLEMENT

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 9      2018 ......................................................................................................... 3
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11      quietly been sent to New York), N.Y. Times (June 20,
12      2018) ....................................................................................................... 8

13      Statement by Homer Venters, MD, Physicians for
        Human Rights Director of Programs, on June 21, 2018 ..................... 10
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15      U.S Department of Health and Human Services, Office
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 1      U.S. Department of Homeland Security OIG Report
 2      (OIG-18-67), ICE’s Inspections and Monitoring of
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 1                        STATEMENT OF INTEREST
 2         The City of Los Angeles, City of Chicago, City of New York and
 3   City and County of San Francisco respectfully submit this proposed
 4   brief, as amici curiae, in opposition to Defendants’ ex parte application
 5   for relief from the Flores settlement agreement.
 6         This litigation is of utmost importance to amici. At least 1.5
 7   million Los Angeles residents are themselves immigrants.1 Nearly
 8   900,000 of those, 22% of the city’s entire population, were born either in
 9   Mexico or Central America.2 The City of Los Angeles is home to
10   residents from more than 135 foreign countries, and 185 languages are
11   spoken here.3 Some 40.2% of business owners in Los Angeles are
12   immigrants.4 And the City, itself, employs approximately 10,000
13   foreign-born workers in its various offices and departments.5
14         The city’s economic and cultural success derives directly from its
15   openness to welcoming diversity. In 2016, approximately 2,322 refugees
16   were resettled in the Los Angeles area,6 and 3517 unaccompanied
17   minors being held by the U.S. Department of Health & Human Services
18   Office of Refugee Resettlement (ORR) were released to sponsors in and
19

20   1 U.S. Census Bureau, 2012-2016 American Community Survey 5-Year
21   Estimates (2012-2016 ACS Data).
     2 Id.
22   3 Id.; U.S. Census Bureau, Detailed Languages Spoken at Home and
     Ability to Speak English for the Population 5 Years and Older: 2009-
23   2013.
     4 Analysis of data from the 2016 Current Population Survey by the
24   American Immigration Council, using IPUMS-CPS. Sarah Flood, King,
     Miriam, Ruggles, Steven, and Warren, J. Robert, Integrated Public Use
25   Microdata Series, Current Population Survey: Version 5.0 [dataset]
     (Minneapolis, MN: University of Minnesota, 2017).
26   5 City of Los Angeles analysis of personnel data.
     6 U.S. Department of State, Bureau of Population, Refugees and
27
     Migration, Office of Admissions – Refugee Processing Center (State
28   Department Refugee Data), available at ireports.wrapsnet.org.


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 1   around Los Angeles.7
 2         Chicago is likewise heavily dependent on the contributions of
 3   individuals from countries most affected by the Flores settlement
 4   agreement. Some 560,000 of Chicago’s approximately 2.7 million
 5   residents are immigrants. More than one half of those immigrants
 6   (291,487, or approximately 11% of Chicago’s population) were born in
 7   Central America, Mexico, or South America.8 Approximately 1.32
 8   million people are employed in Chicago. Of those, 185,836, or
 9   approximately 14% of Chicago’s workforce, were born in Central
10   America, Mexico, or South America.9
11         In addition, like Los Angeles, Chicago welcomes and resettles a
12   large number of refugees: in 2016, approximately 2,091 refugees
13   resettled in the Chicago area,10 and in 2016, 256 unaccompanied minors
14   were placed by ORR in and around Chicago.11 This includes refugees
15   directly impacted by the federal government’s policy of separating
16   immigrant parents and children at the southwest border. Just
17   yesterday, a federal district court judge in Chicago entered a
18   preliminary injunction directing government officials to immediately
19   release a nine-year-old boy who had been placed with a social services
20   agency in Chicago to his mother, who had not seen him since they were
21   separated at the border in late May. The court held that their continued
22   separation likely violated their due process rights and subjected them to
23
     7 U.S Department of Health and Human Services, Office of Refugee
24   Resettlement - Unaccompanied Children Released to Sponsors by
     County FY16, Updated: January 26, 2017. (FY16 ORR Report).
25   Retrieved from: https://www.acf.hhs.gov/orr/resource/unaccompanied-
     children-released-to-sponsors-by-county-fy16
26   8 2012-2016 ACS Data, supra, fn. 1.
     9 Id.
27   10 State Department Refugee Data, supra, fn. 6.
     11 FY16 ORR Report, supra, fn. 7.
28


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 1   irreparable harm.12
 2         The population of New York City is 8.4 million people as of 2016.13
 3   New York City is home to over 3.1 million foreign-born New Yorkers,
 4   about 37% of the City’s population.14 Of those immigrants, over 300,000
 5   people, or about 4% of the city’s total population, were born either in
 6   Mexico or Central America.15 New York City has residents from more
 7   than 150 foreign countries.16 Over 150 languages are spoken in New
 8   York City17 and approximately 49% of New Yorkers speak a language
 9   other than English at home.18
10         Approximately 4.3 million people are in the labor force in New
11   York City; of those, 46% are foreign-born immigrants.19 New York City
12   itself employs 287,000 people,20 33% of them foreign-born.21 And 52% of
13   New York City’s business owners are immigrants.22
14         More than 2,000 refugees have been resettled in New York City
15   since 2010.23 However, since President Trump entered office, on
16   average, New York City has received about half the number of refugees
17
     12 Souza v. Sessions, No. 1:18-cv-04412 (MSS) ECF Dkt. # 23 (N.D. Ill.
18   June 28, 2018).
     13 2012-2016 ACS Data, supra, fn. 1.
19   14 Id.
     15 Id.
20
     16 Id.
21   17 NEW YORK CITY MAYOR’S OFFICE OF IMMIGRANT AFFAIRS, STATE OF OUR
     IMMIGRANT CITY: ANNUAL REPORT MARCH 2018, at *13. Retrieved from:
22   https://www1.nyc.gov/assets/immigrants/downloads/pdf/moia_annual_re
     port_2018_final.pdf
23   18 2012-2016 ACS Data, supra, fn. 1.
     19 Id.
24
     20 Goodman, David J., Now Hiring: Under De Blasio, New York’s
25   Government Grows to Record Level, N.Y. Times (Oct. 11, 2016),
     Retrieved from: https://www.nytimes.com/2016/10/12/nyregion/bill-de-
26   blasio-government-jobs.html
     21 2012-2016 ACS Data, supra, fn. 1.
27   22 Id.
     23 State Department Refugee Data, supra, fn. 6.
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 1   per month compared to the last year of the Obama administration, from
 2   about 29 refugees placed in New York City per month in 2016 to about
 3   15 per month during Trump’s administration, for a total of 241 refugees
 4   placed in New York City from January 2017 to June 26, 2018.24 In
 5   federal fiscal year 2017, 1,400 unaccompanied minors being held by
 6   ORR were released to sponsors in New York City.25
 7         The City and County of San Francisco, with a total population of
 8   850,282, has some 296,849 immigrant residents. Of those, 46,220 (more
 9   than 5% of the entire population) were born in either Mexico or Central
10   America. In addition, San Francisco has 10,600 Hispanic/Latino owned
11   business. Those businesses generated $1,583,562,000 in sales, receipts,
12   or value of shipments and they employed 8,748 people. Specifically
13   addressing the need for ongoing support of Plaintiffs, San Francisco
14   welcomed 253 unaccompanied minors placed with sponsors by ORR in
15   2016 and another 230 unaccompanied minors in 2017.26
16         Of course, amici simply echo our nation’s centuries-old practice of
17   welcoming migrant children. Since its inception, the United States has
18   served as an adopted home for generations of migrant children.
19   Welcoming and protecting young immigrants is part and parcel of our
20   DNA. For example, more than one million children passed through Ellis
21   Island in its 62 years as an immigration station.27 However immigrants
22   came to our country, those who arrived here as children have certainly
23   helped to build the foundation of our economic prosperity, military
24
     24 Id.
25   25 U.S Department of Health and Human Services, Office of Refugee
26
     Resettlement - Unaccompanied Children Released to Sponsors by
     County FY17, Updated: May 25, 2018 (FY17 ORR Report). Retrieved
27
     from: https://www.acf.hhs.gov/orr/resource/unaccompanied-children-
     released-to-sponsors-by-county-fy17
     26 FY16 ORR Report, supra, fn. 7; FY17 ORR Report, supra, fn. 25.
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     27 Moreno, Barry, Children of Ellis Island, Arcadia Publishing (2005).


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  1   security, cultural artistry, and civic society. Amici therefore look to a
  2   new generation of child migrants, especially those traveling here to
  3   escape harm and persecution, to help lead our financial and cultural
  4   success into the future. For the following reasons, amici assert that
  5   Defendants’ ex parte application should be denied.
  6                                  ARGUMENT
  7    I.   DEFENDANTS ARE UNABLE TO MEET THE BURDEN OF
  8
            SHOWING THERE HAS BEEN A SIGNIFICANT CHANGE IN
            CIRCUMSTANCES AT THE SOUTHWEST BORDER TO
  9         WARRANT REVISION OF THE SETTLEMENT.
 10         As Defendants note in their application, a court may only relieve a
 11   party from “a final judgment, order, or proceeding” if that party
 12   established that “a significant change in circumstances warrants
 13   revision of the decree.” Fed. R. Civ. Proc. 60(b)(5); Rufo v. Inmates of the
 14   Suffolk County Jail, 502 U.S. 367, 383 (1992); see also Horne v. Flores,
 15   557 U.S. 433, 447 (2009). As set forth by the United States Supreme
 16   Court, this test is met where there are “changes in circumstances that
 17   were beyond the defendants’ control and were not contemplated by the
 18   court or the parties when the decree was entered.” Rufo, at 380-81.
 19         Defendants have not met that burden. This Court’s action in
 20   response to Defendants’ 2015 motion to modify the Flores agreement
 21   provides guidance here. At that time, Defendants argued that a
 22   modification to the agreement was required since the United States was
 23   experiencing a “surge” in unauthorized family units entering the United
 24   States in 2014. Defendants argued that this increase in the
 25   apprehension of family units, as distinguished from apprehensions of
 26   unaccompanied minors, was not anticipated when the parties entered
 27

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  1   into the Flores agreement.28
  2        Statistics show that in 2012 and 2013, the two years prior to the
  3   “surge” that was the impetus for Defendants’ 2015 motion, United
  4   States Border Patrol apprehended a yearly average of 12,986 people
  5   arriving in family units.29 In 2014, however, Border Patrol apprehended
  6   68,445 family unit members, a 427% increase in family unit
  7   apprehensions over the preceding year-over-year average. Id. After
  8   considering the impact of the “surge,” this Court denied Defendants’
  9   motion, and the Ninth Circuit affirmed, holding that the Flores
 10   agreement “expressly anticipated an influx” could occur. Flores v.
 11   Lynch, 828 F.3d 898, 910 (9th Cir. 2016).
 12        With the present ex parte application, Defendants are once again
 13   trying to claim that a “surge” in family units crossing the southwest
 14   border has created a change sufficient to meet the standard set forth in
 15   Rufo. But, even taking Defendants’ own qualified interpretation30 of
 16   recent family unit apprehension statistics, one can see that there has
 17   been no “significant change in circumstances.” Defendants are
 18

 19
      28 See Defendants’ Motion to Modify Settlement Agreement, ECF Dkt. #
      120 (Feb. 27, 2015).
 20   29 U.S. Customs and Border Protection (CBP) statistical report titled:
      United States Border Patrol Southwest Family Unit Subject and
 21   Unaccompanied Alien Children Apprehensions Fiscal Year 2016.
      Retrieved from: https://www.cbp.gov/newsroom/stats/southwest-border-
 22   unaccompanied-children/fy-2016
      30 Amici use the word “qualified” because Defendants’ motion states they
 23   are estimating 88,670 apprehensions of family unit members in 2018, a
      number “projected” off the monthly average of family unit apprehensions
 24   to date in 2018 and “based on the assumption that illegal crossers for
      the remaining four months will arrive at the same rate as in the prior
 25   eight months, a projection that does not account for seasonal variations.”
      Defendants’ Ex Parte Application to Modify Settlement Agreement
 26   (Application), ECF Dkt. # 435-1 at *8 (June 21, 2018). The “projected”
      number should not be considered reliable because it fails to reflect the
 27   seasonal fluctuations in migration patterns (i.e. the 2018 CBP statistical
      year ends on September 30, 2018 and crossings historically drop in the
 28   coming summer months when temperatures spike at the southwest
      border.).

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  1   estimating there will be 88,670 apprehensions of family unit members in
  2   2018. Taking this one year of data alone, Defendants’ assert “a 30%
  3   increase” in family entries over the 2014 apprehensions. But this
  4   increase is significantly smaller than the 427% “surge” relied upon in
  5   Defendants’ 2015 motion, which this Court found unconvincing. And, if
  6   one averages out the four years of reported family apprehensions since
  7   that prior ruling – including Defendants’ qualified 2018 count – one
  8   would find a yearly average of 70,451 apprehensions from 2015 through
  9   and including 2018, which is a de minimis increase over the 68,445
 10   apprehensions in 2014 that this Court found to be insufficient under the
 11   Rufo test.
 12   II.   THE STATE LICENSING REQUIREMENT IN THE EXISTING
 13
            SETTLEMENT IS CRITICAL TO ENSURING THE HEALTH
            AND SAFETY OF THE PLAINTIFF CHILDREN.
 14
            Amici are acutely focused on Defendants’ attempt to modify the
 15
      settlement to eliminate the state licensing requirement. Notably,
 16
      paragraph 6 of the Flores settlement defines “licensed program” as “any
 17
      program, agency or organization that is licensed by an appropriate state
 18
      agency,” and Exhibit 1 of the settlement requires that licensed programs
 19
      “comply with all applicable state child welfare laws and regulations and
 20
      all state and local building, fire, health and safety codes.”
 21
            The City of Los Angeles, through the Los Angeles City Attorney’s
 22
      Office, prosecutes violations of child welfare laws and health and safety
 23
      codes in the State of California. So does the City and County of San
 24
      Francisco and the City of New York. Cases are referred to these offices
 25
      for prosecution by the State of California’s and New York’s licensing
 26
      agencies. Amici have a strong interest, therefore, in the continued
 27
      licensed regulation of Defendants’ child welfare programs, especially
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  1   considering that media reports estimate that hundreds of children
  2   recently separated from their families by Defendants’ are being held in
  3   and around amici’s jurisdictions.31
  4        Defendants assert in their application to the Court that they will
  5   continue to comply with the requirements set forth in Exhibit 1 of the
  6   settlement. See Application at *18 (stating “the Government does not
  7   now object to the requirement that [Immigration and Customs
  8   Enforcement (ICE)] family residential facilities would continue to meet
  9   the standards laid out in Exhibit 1 to the Agreement”). Defendants are,
 10   therefore, conceding they will continue to comply with state law, as
 11   Exhibit 1 requires, but they want to be relieved of any oversight
 12   provided by the state licensure.
 13        Licensing is a critical check on the adequacy and competence of the
 14   organizations running the facilities holding these migrant children. The
 15   very purpose of state licensing is to ensure a minimum standard of
 16   quality in a service field that is incredibly complex with the potential to
 17   inflict extreme harm upon an already vulnerable youth population. The
 18   only discernible purpose of the government’s requested change is to
 19   evade the crucial layer of oversight and accountability provided by the
 20   settlement agreement’s state licensure requirement.
 21        But Defendants present no evidence that state licensing is
 22   unavailable or even impracticable, nor do they propose any alternative
 23   to state licensure that would help ensure accountability of the agencies
 24

 25   31See Robbins, Liz, Hundreds of separated children have quietly been
      sent to New York, N.Y. Times (June 20, 2018). Retrieved from:
 26   https://www.nytimes.com/2018/06/20/nyregion/children-separated-
      border-new-york.html; Bermudez, Esmeralda, Children separated from
 27   parents arrive in L.A., but frustrated community gets few answers, L.A.
      Times (June 21, 2018). Retrieved from:
 28   http://www.latimes.com/local/california/la-me-ln-separated-kids-la-
      20180620-story.html

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  1   running the facilities. To the contrary, a report released just this week
  2   by the Office of the Inspector General (OIG) at the Department of
  3   Homeland Security shows that ICE, for example, should not be self-
  4   monitoring. Specifically, the OIG determined that ICE’s privately-
  5   contracted inspection firms and its own self-monitoring via ICE’s Office
  6   of Detention Oversight do not result in sustained compliance with
  7   detention standards and practices, nor do they promote systemic
  8   improvements or comprehensive corrections of deficiencies.32
  9        The state licensing requirement is all the more critical now that
 10   Judge Dana M. Sabraw has issued an order requiring the federal
 11   government to reunite the separated children with their parents, many
 12   of whom are in Defendants’ custody.33 Removing the licensing
 13   requirement at this critical moment of reunification could create serious
 14   consequences for the health and wellbeing of the children. In his ruling,
 15   Judge Sabraw recognized the “constitutional liberty interest ‘of parents
 16   in the care, custody, and control of their children[,]’ which ‘is perhaps
 17   the oldest of the fundamental liberty interests recognized by’ the
 18   Supreme Court.” Id. at *35 (quoting Troxel v. Granville, 530 U.S. 57, 65
 19   (2000)).
 20        Amici’s interest in seeing the state licensing requirements be
 21   properly applied and enforced within our respective jurisdictions has its
 22   foundation in that same fundamental liberty interest in protecting the
 23   care and custody of all children.
 24

 25   32U.S. Department of Homeland Security OIG Report (OIG-18-67),
 26   ICE’s Inspections and Monitoring of Detention Facilities Do Not Lead to
      Sustained Compliance or Systemic Improvements (June 26, 2018).
 27   Retrieved from: https://www.oig.dhs.gov/sites/default/files/assets/2018-
      06/OIG-18-67-Jun18.pdf
 28   33Ms. L. v. U.S. Immigration & Customs Enf’t, No. 18-cv-0428 (DMS)
      (MDD), 2018 U.S. Dist. LEXIS 107365 (S.D. Cal. June 26, 2018).

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  1                                CONCLUSION
  2        For these reasons, amici respectfully request this Court to deny
  3   Defendants’ ex parte application for relief from the Flores settlement
  4   agreement.
  5        As Physicians for Human Rights stated last week, “without state
  6   licensure, there would be no guarantee of adherence to existing
  7   minimum standards, which are designed to protect children and
  8   families. In practice, such a modification would legalize ad hoc detention
  9   sites, including tent cities on military bases. Families should be placed
 10   in community-based settings while their proceedings are pending, and
 11   no detention facility should ever be exempt from state licensing
 12   requirements.”34
 13        Ironically, just yesterday, the United States Department of State
 14   echoed the statement by Physicians for Human Rights in the
 15   department’s 2018 Trafficking in Persons Report.35 The report, which
 16   was officially released on June 28, 2018, states in the context of
 17   criticizing foreign government practices of child institutionalization
 18   that, “[r]emoval of a child from the family should only be considered as a
 19   temporary, last resort. Studies have found that both private and
 20   government-run residential institutions for children, or places such as
 21   orphanages and psychiatric wards that do not offer a family-based
 22   setting, cannot replicate the emotional companionship and attention
 23   found in family environments that are prerequisites to healthy cognitive
 24

 25
      34 Statement by Homer Venters, MD, Physicians for Human Rights
      Director of Programs, on June 21, 2018. Retrieved from:
 26   http://physiciansforhumanrights.org/press/press-releases/legal-
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  1   development.”36
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       Dated:     June 29, 2018           Respectfully submitted,
  3
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      36   Id.

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  2                        CERTIFICATE OF SERVICE
  3        I hereby certify that on July 3, 2018, a copy of the foregoing Brief
  4   of City of Los Angeles, City of Chicago, City of New York, and City and
  5   County of San Francisco as Amici Curiae in Opposition to Defendants’
  6   Ex Parte Application for Relief from the Flores Settlement was filed and
  7   served pursuant to the Court’s electronic filing procedures using
  8   CM/ECF.
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                                                   /s/   Michael Dundas
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                                                         Michael Dundas
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